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                                                 No. l6-594L
                                           Filed: December 9, 2016
                                          NOT FOR PUBLICATION                       FILED
                                                                                   DEC - I 2016
     CHAKCHIUMA NATION,
                                                                                  U.S. COURT OF
                                                                                 FEDERAL CLAIMS
                             Plaintiff,
                                                            Pro Se; Rule 83.1; Rule l2(bX1), Subject-
                                                            Matter Jurisdiction; Rule 12(b)(6), Failure
                                                            to State a Claim: In Forma Pauperis.
 THE LTNITED STATES,

                             Defendant.



             Sakima lban Salih El Bey on behalf of the Chakchiuma Nation, Memphis, TN,        plaintiff
pfo    se.

       Adam M. Bean,Trial Attorney, John C. Cruden, Assistant Attorney General, United
States Department of Justice, Environment & Natural Resources Division, Washinglon, DC,
Dondrae Maiden, Of Counsel, United States Department of the Interior, Washington, DC, for
defendant.

                               MEMORANDUM OPINION AND ORDER

GRIGGSBY. Judse

I.           INTRODUCTION

             Sakima Iban Salih El Bey brought this action on behalfofthe plaintiffin this matter, the
Chakchiuma Nation ("the Chakchiuma"), seeking various declaratory, injunctive and monetary
reliefin connection with      an alleged violation   ofthe United States' Treaty with the Choctaw and
Chickasaw ("Treaty of 1866"). The govemment has moved to dismiss this matter for lack                 of
subject-matter jurisdiction, pusuart to Rule 12(b)(l) ofthe Rules ofthe United States Court            of
Federal Claims       ('RCFC),    and for failure to state a claim upon which relief can be granted,
pursuant to RCFC l2(b)(6). In addition, plaintiff has filed a motion to proceed in this matter in

forma pauperis, pursuant to 27 U.S.C. $ 1915. For the reasons set forth below, the Court: (1)
GRANTS the govemment's motion to dismiss and (2) GRANTS plaintiffls motion to proceed
in   forma pauperis.




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IL       FACTUAL AND PROCEDURAL BACKGROUNDI
        A. Factual Background
        The Chakchiuma commenced this action on May 20,2016. See generally Compl. The
complaint states that "[t]he Chakchiuma were a [Moorish-American Indian with modern
connotation for today's 'African-American'] tribe" ofthe upper Yazoo River region ofthe State
of Mississippi. .Id. at    1.


        Mr. El Bey,      a non-attomey, seeks to represent the Chakchiuma     in this action. See
generally Compl; see Pl. Resp. at 3. The complaint states that Mr. El Bey is the "Consul
General" for the Chakchiuma. Compl. at 10. Mr. El Bey acknowledges, however, that he is not

seeking any relief, or asserting any claims, in this matter on his own behalf. Pl. Resp. at 3.

         In this action, the Chakchiuma allege that the United States has violated the Treaty of
1866 by failing to pay certain monies promised under this treaty to members of the Chakchiuma.

Compl. at   8-   10. As relief, the Chakchiuma seek the "flnancial benefits" due under the Treaty of
1866 and certain other monetary      relief. Id. at 10. In addition, plaintiff also seeks   a   "public
declaration from the U.S. Department of Interior that the Chakchiuma Nation are Black . .             .


Indians who must be included in the mandated benefits that non-More-ish Indians have been
receiving for over i50 years" and a declaratory judgment directing the government to "retro-
actively distribute invested benefits to eligible Chakchiuma Nation . . . Indians." 1d. at 7.

        As background, the Choctaw and Chickasaw Nations entered into a Reconstruction
Treaty at the conclusion of the Civil War with the United States, which is known as the Treaty
with the Choctaw and Chickasaw, 1866.2 Pursuant to the terms ofthis treaty, these tribes sold
certain lands to the United States in exchange for $300,000, and the proceeds ofthis transaction
were to be held in trust and ultimately paid to certain persons of African descent who resided
with, and had been enslaved by, the Choctaw or Chickasaw Nations and elected to leave either


I The facts recited in this Memorandum Opinion and Order are taken from the complaint (..Compl.,'), the
government's motion to dismiss ("Def. Mot."), and the plaintiff s response to the govemment,s motion to
dismiss ("P1. Resp.").

2
  The Treaty of 1866 was ratified on June 28, 1866 and proclaimed on July 10, 1866. See generally
Treaty with the Choctaw and Chickasaw, April 28, 1866, l4 Stat. 769 (ratified June 28, 1866)
(proclaimed July 10, 1866).
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tribe.   ,See   Treaty with the Choctaw and Chickasaw, art. 3, April 28, 1866, 14 Stat. 769 (ratified
June 28, I 866) (proclaimed July 10, I 866)   (providing for payment to persons of African descent
after the Choctaw and Chickasaw Nations' passage of laws putting such persons on equal legal
footing with the Choctaw and the Chickasaw, or, if such laws were not established). The
Chakchiuma allege in the complaint that they are the descendants of the persons of African
descent described in the Treaty      of 1866. Compl.   at 8-9.

          The Indian Claims Commission Act ("ICCA") is also relevant to the claim in this matter.
Indian Claims Commission Act, Pub. L.No.79-726,60 Stat. 1049 (1946). Congress enacted the
ICCA on August 13,1946, to, among other things, establish the Indian Claims Commission to
"hear and determine . . . certain claims against the United States on behalf of any Indian tribe,
band or other identifiable group of American Indians residing within the tenitorial limits of the

United States or Alaska." Id. at1050. The ICCA also places certain limitations upon the type of
claims that the Indian Claims Commission could consider and on the time period during which
the Commission may consider such claims. Id. at 1052. Specifically relevant to this case, the
ICCA provides that "[n]o claim accruing after the date ofthe approval of [the] Act shall be
considered by the Commission." Id. at 1050. The ICCA further provides that "[t]he

Commission shall receive claims for a period offive years after the date ofthe approval ofthis
Act and no claim existing before such date but not presented within such period may thereafter
be submitted to any court or administrative agency for consideration, nor      will      such claim
thereafter be entertained by the Congress." Id. at 1052.

         B. Procedural History
         The Chakchiuma commenced this action on May 20, 2016. See generally Compl On
May 20,2016, plaintiff also filed a motion for leave to proceed in this matter informa paupens,
pursuant to 28 U.S.C. $ 1915. See generallyPl. Mot. to Proceed In Forma Pauperis.

         On July 20, 2016, the government filed an opposition to the     plaintiff   s   motion to proceed
informa pouperis. Dei Opp. to PI. In Forma Pauperis MoI. On July 20, 2016, the govemment
also filed a motion to dismiss this action for lack of subject-matter jurisdiction and for failure to
state a claim upon which relief can be granted, pursuant to RCFC       l2(bxl)   and l2(b)(6). See
generally Def . Mot.
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          Plaintiff filed   a response   to the govemment's motion to dismiss on August 15,2016. See
generally Pl. Resp. The govemment filed its reply brief on September 1,2016. See generally
Def. Reply. Thereafter, plaintiff filed a sur-reply by leave of the Court on September 30,2016.
See   generally PL Sur-Reply.

          These matters having been        fully briefed, the Cou(   addresses the pending motions.

III.      LEGAL STANDARDS

          A.      Pro Se Litigants

          Plaintiff is proceeding in this matter pro se, without the benefit ofcounsel. And so,
plaintiff is "not expected to frame issues with the precision of         a common      law pleading." Roche
v. U.S. Postal Serv-,828 F.2d 1555, 1558(Fed.Cir. 1987). When determining whether a
complaint lied by apro se plaintiffis sufficient to invoke review by a court, such plaintiffs are
entitled to a liberal consfuction oftheir pleadings. Matthews v. United States,750 F.3d 1320,
1322 (Fed.     Cir.2014). But, there "'is no duty on the part ofthe trial court to create        a   claim
which [the plaintiffl has not spelled out in his [or her] pleading ."' Lengen v. United States, 100
Fed. Cl. 3 I 7, 328 (2011) (citations omitted) (first set of brackets existing). In addition, although

"a   pro se plaintiff is held to a less stringent standard than that of     a   plaintiff represented by an
attorney, . . . the pro se plaintiff, nevertheless, bears the burden of establishing the Court's
jurisdiction by   a preponderance        ofthe evidence . . . ."   Riles v. United States,93 Fed.    Cl.   163,

165 (2010) (citations       omitted). And so, while the Court may excuse ambiguities in the plaintiffs
complaint, the Court does not excuse the complaint's failures. See Henke v. United States,60
F.3d 795, 799 (Fed. Cir. 1995); see also Demes v. United States,52 Fed. Cl. 365,368 (2002)
("[T]he leniency afforded pro se litigalts with respect to mere formalities does not relieve them
ofjurisdictional requirements.") (citation omitted).

          B.       Rule 12(b)(r)

          When deciding a motion to dismiss based upon a lack of subject-matter jurisdiction,
pursuant to RCFC l2(bXl), this Court must assume that all undisputed facts alleged in the
complaint are true and must draw all reasonable inferences in the non-movant's favor. See
Erickson v. Pardus,55l U.S. 89,94 (2007). But, plaintiffbears the burden of establishing
subject-matter jurisdiction, Alder Terrace, Inc. v. United Stares,         l6l    F.3d 1372,1377 (Fed. Cir.
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1998), and must do so by a preponderance of the evidence. Reynolds v. Army &                           Air Force Exch.
Serv.,846F.2d746,748 (Fed. Cir. 1988) (citations omitted). And so, should the Court
determine that *it lacks jurisdiction over the subject matter, it must dismiss the claim."
Matt hew s v. Unite d   St at e s,   72   F   ed. Cl.   27   4, 27 I (Fed. Cl. 2006).

        In this regard, the United States Court of Federal Claims is a court of limited jurisdiction
and the Court "possess[es] only that power authorized by Constitution and statute. . . ."

Kokkonen v. Guardian Life Ins. Co. of Am.,5l                      l U.S.375,377 (1994).       Under the Tucker Act,
the Court hasjurisdiction to adjudicate "any claim against the United States founded either upon
the Constitution, or any Act ofCongress or any regulation ofan executive department, or upon
any express or implied contract with the United States, or for liquidated or unliquidated damages

 in cases not sounding in tort." 28 U.S.C. $ 1a91(a)(1) (2011). The Tucker Act, however, is "a
jurisdictional statute; it does not create any substantive right enforceable against the United
States for money damages. . . . [T]he Act merely confers jurisdiction upon [the United States

Court ofFederal Claims] whenever the substantive right exists." United States v. Testan,424
u.s. 392, 398 (1976).

        Given this, to pursue a claim under the Tucker Act, a plaintiff must identifu and plead a
claim founded upon an independent contractual relationship, Constitutional provision, federal
statute, and/or executive agency regulation that provides a substantive right to money damages.

See Todd v. United States,386 F.3d 1091, 1094 (Fed.                       Cir. 2004) ("[J]urisdiction under the
Tucker Act requires the litigant to identifu a substantive right for money damages against the
United States separate from the Tucker Act itself.") (citation omitted); see also Fisher v. United
States, 402 F.3d 1 167, I 1 72 (Fed. Cir. 2005) (en banc) ("The Tucker Act irself does not create a
substantive cause ofaction; . . . a plaintiff must                 identif   a separate source of substantive law that

creates the right to money damages."). And so, a                     plaintiff must demonstrate that the source of
substantive law upon which the plaintiffrelies "can fairly be interpreted as mandating
compensation by the Federal Govemment[.]" Testan, 424 U.S. at 400 (citation omitted).

       C. Standing and Rule 83.1(a)(3)
       The standing requirements that apply to Article                       III courts also apply to the United   States
Court of Federal Claims. Iteeks Marine, Inc. v. United States,575 F.3d 1352 (Fed. Cir.2009)
(citing Anderson v. United States,344F.3d 1343, l350n.l (Fed.Cir.2003)). And so, standing
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"is   a threshold   jurisdictional question and must be established by the party seeking to invoke this
court's jurisdiction." Saladino v. United States,62 Fed. Cl. 782,793 (2004) (citation omitted);

see also Lujan v. Defenders      of llildlife,504 U.S. 555, 561 (1992) (citations omiued) (holding
that it is the burden of the party invoking federal jurisdiction to establish the three elements          of
standing).

          To establish standing a party must show: (1) that it has "suffered an 'injury in fact;"' (2)
"a causal cormection between the injury and the conduct complained of;" and (3) that it is

"'likely,'   as opposed   to merely 'speculative,' that the injury will be 'redressed by a favorable
decision."' Lujan,504 U.S. at 560-61 (citations omitted). This Court         has also recognized that,

in limited circumstances, third-party standing may be appropri ate. Saladino v. United States, 62
Fed. Cl. at 793. But, to have third-party standing:

          [t]he litigant must have suffered an injury in fact, thus giving him or her a sufficiently
          concrete interest in the outcome of the issue in dispute, the litigant must have a close
          relation to the third party, and there must exist some hindrance to the third party's ability
          to protect his or her own interests.
1d (quoting Powers v. Ohio, 499 U.S. 400, 4l          I   (1991) (citation omitted)) (intemal quotations
omitted).

          In addition, the Rules ofthe United States Court of Federal Claims address the eligibility
of attomeys and pro se litigants to practice before this Court. In this regard, RCFC 83.1(a)(3)
provides, in relevant part, that "[a]n individual who is not an attorney may represent oneselfor
one's immediate iamily, but may not represent a corporation, an entity, or any other person in
any proceeding before this      court." RCFC 83.1(a)(3). And      so, the Court has held thal   a   pro   se

plaintiff may represent only himself and "immediate family" members under Rule S3.1(a)(3).
See Fast   Horse v. United States,l0l Fed. Cl. 544,547-48 (2011).

         D. Rule 12(b)(6)
         When deciding a motion to dismiss based upon failure to state a claim upon which relief
can be granted, pursuant to RCFC 12(bX6), this Court must also assume that all undisputed facts

alleged in the complaint are true and must draw all reasonable inferences in the non-movant's
favor.   See Ericl<son,551 U.S. at    94. And   so, to survive a motion to dismiss under RCFC
12(bX6), a complaint must contain facts sufficient to "state a claim to reliefthat is plausible on
its face." Bell Atl. Corp. v. Twombly,550 U.S. 544,570 (2007); see also Ashuoft v. Iqbat,556
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U.S. 662, 678 (2009). When the complaint fails to "state a claim to relief that is plausible on its
face," the Court must dismiss the complaint. Iqbal, 556 U.S. at 678 (citation omitted). On the
other hand, "[w]hen there are well-pleaded factual allegations, a court should assume their
veracity," and determine whether it is plausible, based upon these facts, to find against the
defendant. Iqbal,556 U.S. at 663-64, 679 ("A claim has facial plausibility when the pleaded
factual content allows the court to draw the reasonable inference that the defendant is liable for
the misconduct alleged.").

    IV.      DISCUSSION

         The govemment has moved to dismiss this matter upon three grounds. Def. Mot. at 6.
First, the government seeks dismissal ofthis matter for lack of subject-matter jurisdiction,
pursuant to RCFC 12(bXl), because Mr. El Bey may not represent the Chakchiuma in this case.
1d. Second, the govemment also seeks to dismiss this matter pursuant to RCFC 12(b)(1) upon
the ground that the Chakchiuma's treaty-based claim in this matter is time-barred. 1d. In
addition, the govemment seeks to dismiss this matter for failure to state a claim upon which
relief can be granted, pursuant to RCFC 12(bX6), upon the ground that the court cannot award
the declaratory and injunctive reliefthat the Chakchiuma seek in this case. Id.

         For the reasons discussed below, the Court agrees that Mr. El Bey may not represent the
Chakchiuma in this matter and that he also lacks standing to pursuant this litigation. In addition,
the Court does not possess subject-matter jurisdiction to consider the treaty-based claim alleged
in the complaint, because the claim is time-baned. And so, the court must dismiss this maner
pursuant to RCFC l2(bX I ).

    A.      The Court Does Not Possess Jurisdiction To Consider This Matter
            l.   Mr, El Bey Lacks Standing To Bring This Action

         As an initial matter, Mr. El Bey, a non-attomey, may not pursue this matter on behalf of
the Chakchiuma. The Rules of the United States Court of Federal Claims specifically address
the question ofwhen apro se    litignt   may practice before this Court. Specifically, RCFC
83.1(a)(3) provides, in relevant part, that "[a]n individual who is not an attomey may represent
oneselfor one's immediate family, but may not represent a corporation, an entity, or any other
person in any proceeding before this     court." RCFC 83.1(a)(3). This court   has also   heldthat a
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p,,o se plaintiff may represent only himself and "immediate family" members under Rule
 83.1(a)(3). See Fast Horse,101 Fed. Cl. at547-48.

          It is undisputed in this matter that Mr. El Bey is not an attomey, nor is he a member of
the Barofthis Court. Pl.Resp,at3. Mr. El Bey also acknowledges that he does not seek to
bring this action on behalf of a member of his immediately farnily.         Id.   Rather, as the complaint
makes clear, the treaty-based claim asserted in the complaint is brought on          behalfofthe
Chakchiuma. See generally Compl. Given these undisputed facts, Mr. El Bey is not eligible to
represent the chakchiuma in this matter, or to bring a claim on the chakchiuma's behalf. RCFC

83.1;see also Fast Horse,101 Fed. Cl. at 547-48. And so, any claim that Mr. El Bey has put
forth on behalfofthe Chakchiuma is barred from this Court.

          In addition, even if Mr. El Bey were to seek to pursue this litigation on his own behalf,
the complaint also makes clear that he lacks standing to do so.        It is well established that standing
"is   a thresholdjurisdictional question and must be established by the party seeking to invoke this
court's jurisdicti on." Saladino,62 Fed. Cl. at793: see also Lujan,504 U.S. at 561 (citations
omitted) (holding that it is the burden ofthe party invoking federal jurisdiction to establish the
three elements of standing.). And so, for Mr. El Bey to have standing here, he must show:           (l)
that he has "suffered an'injury in fact;"'(2) "a causal connection between the injury and the
conduct complained of;" and (3) that it is   "'likely,'   as opposed   to merely'speculative,' that the
injury will be'redressed by   a favorable   decision."' Lujan,504 U.S. at 561 (citations omitted).
In addition, to show that he has third-party standing, Mr. El Bey "'must have suffered an,,injury
in fact," thus giving him . . . a "sufficiently concrete interest" in the outcome of the issue in
dispute, . . . have a close relation to the third party, and there must exist some hindrance to the
third party's ability to protect [its] own interest.',' Saladino,62 Fed. Cl. at 793 (citation
omitted).

         In this case, Mr. El Bey does not allege that he has suffered any harm or injury in fact      as
a result of the treaty violation alleged in the complaint. pl. Resp. at 3. Nor has Mr. El Bey

shown that a hindrance exists to prevent the Chakchiuma from protecting its own interest with
respect to any claim based upon the Treaty     of 1866. Id.;see also saladino,62Fed. cL at793.
Given this, Mr. El Bey had not established that he has standing to bring this matter. And so, the
court must dismiss this matter for lack of subject-matter jurisdicrion. RCFC l2(bxl).
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             2,         The Claim Alleged In The Complaint Is Time-Barred

        Dismissal of this matter for lack of subject-matter jurisdiction is also warranted because
the treaty-based claim alleged in the complaint is time-barred. In the complaint, the Chakchiuma

seek monetary, declaratory and injunctive reliefbased upon an alleged violation        ofthe Treaty of
 1866.3 Compl. at 7, 10. This claim is untimely. And so, for the reasons discussed below, the

Court must dismiss this claim for lack of subject-matter jurisdiction. RCFC 12(bxl).

        First, as the government correctly notes in its motion to dismiss, the Chakchiuma's
treaty-based claim is subject to the Indian Claims Commission Act C'ICCA') and this claim is
also time-barred under that     Act. Def. Mot. at 6, 8-11; Indian Claims Commission Act, Pub. L.
No.79-726,60 Stat. 1049(1946). Congress enacted the ICCA in 1946to, among other thrngs,
establish the Indian claims commission to "hear and determine . . . claims against the United
States on   behalfofany Indian tribe, band, or other identifiable group of Americans Indians
residing within the territorial limits of the United States." Indian claims commission Act, pub.
L.No.79-726,60 Stat. 1049, 1050 (1946). Under the ICCA, the Indian Claims Commission                 has
jurisdiction to consider, among other things:

             (l)   claims in law or equity arising under the Constitution, laws,
                   treaties of the United States, and executive orders of the president;
                   [and] (2) all other claims in law or equity, including those
                   sounding in tort, with respect to which the claimant would have
                   been entitled to sue in a court of the United States ifthe United
                   States was subject to suit. . . .


,fd. (emphasis   supplied). The ICCA also imposes a five-year limitations period for bringing a
claim before the Indian claims commission. /d. at 1052. In this regard, the Act provides that,
"[t]he commission shall receive claims for     a   period offive years after the date ofthe approval of
this act [August 13,1946] and no claim existing before such date but not presented within such



'As the govemment notes in its motion to dismiss, the complaint does not clearly identif, the treaty
alleged to have been violated inthis matter. Def.Mot.atl0. Although the United States entered into a
treaty with the Choctaw and Chickasaw Nations in 1866, that treaty was not ratified in Fort Smith. Treaty
with the choctaw and chickasaw, April 28, 1866, l4 srat. 769 (ratified June 28, 1g66) (proclaimed July
10, 1866); see also Def . Mot. at 10.
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 [five-year] period may thereafter be submitted to any court or administrative agency for
consideration, nor will such claim thereafter be entertained by Congress." Id. at 1052.

          When read in the light most favorable to the plaintiff, the complaint demonstrates that the
Chakchiuma's treaty-based claim in this case accrued many decades ago. In this regard, the
Chakchiuma allege in the complaint that the United States violated the Treaty of 1866 by failing
to pay certain monies promised under this treaty to members of the Chakchiuma. Compl. at 7,

 I   0. The Treaty of   I   866 provides, among other things, that the Choctaw and Chickasaw Nations

would sell certain land to the United States in exchange for $300,000, and that the proceeds of
this transaction would be paid to certain persons of African descent who resided with, and had
been enslaved by, the Choctaw or Chickasaw and elected to leave the tribes after the               Civil War.
See Treary    with the Choctaw and Chickasaw, art. 3, April 28,1866,14 Stat. 769 (ratified            June 28,

 1866) (proclaimed July 10, 1866). The treaty also provides that the    individuals eligible to receive
these monetary benefits could do so within 90 days ofthe passage         oftribal laws ensuring their
emancipation and rights, or within two years of the treaty's passage, ifsuch laws were not
passed. 1d. Given this, it would appear that any claim under the Treaty of 1866 would have

accrued no later than 1868.        /d
          As discussed above, the ICCA vests jurisdiction in the Indian Claims Commission to
consider claims in law or equity arising under the treaties ofthe United States on behalfofany
Indian tribe or other identifiable group of American Indians residing within the territorial limits
of the United starcs see generally rndian claims commission Act, pub. L. No. 79-726, 60 slrrr.
1049 (1946). For claims that accrued before 1946, like the treaty-based claim at issue here,

section 12 ofthe ICCA also requires that such a claim be brought to the Indian claims
commission before August 13, 1951. Id.at1052. It is without dispute that the chakchiuma
have not done so with respect to the treaty-based claim at issue in this       litigation.   See   generally
Pl. Resp. And so, this claim is time-barred under the ICCA.

          The Chakchiuma's treaty-based claim is also time-barred under the six-year statute            of
limitations period set forth in 28 U.S.c. $ 2501. In this regard, title 2g, united States code,
section 2501, provides, in pertinent part, that "[e]very claim of which the United states court              of
Federal Claims has jurisdiction shall be baned unless the petition thereon is filed within six years
after such claim first accrues." 28      u.s.c.   $ 2501;see also Abbas v.   united states,No. l6-1342,


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 2016 WL 7100358 (Fed. Cir. Dec. 6, 2016) (affirming the United States Court of Federal
 Claims' finding that plaintiffs claim was baned under 28 U.S.C.          $ 2501 where he    failed to bring
 that claim within six years of its accrual); Ingrum v. United States,560 F.3d. l3 I       l, l3l4   (Fed.

 Cir. 2009). As discussed above, the Chakchiuma's treaty-based claim in this case appea$ to
 have accrued more than a century ago.a And so, again, this claim is untimely and the Court does

 not possess subject-matter jurisdiction to entertain it in this litigation.5 RCFC 12(bX1).

       B.   The Court Grants The Chakchiuma's
            Motion For Leave To Proceed 1z Forma Pauperis
            As a final matter, the Chakchiuma have also moved to proceed in this m alter informa
pauperis.      See   generally PL Mot. to Proceed1rr Forma Pauperis. This Court may authorize
 commencement of a suit without prepaymenl of fees when a person submits an affidavit
 including a statement of all assets, a declaration that he or she is unable to pay the fees, and a
 statement    ofthe nature ofthe action and a beliefthat    he or she is entitled to redress. see 28

U.S.C. $ 1915(a)(l). The Chakchiuma have submitted a declaration seeking an exemption from
paying the court's filing fees, but have not submitted all ofthe information required under 2g
U.S.C. $ 1915(a)(l). Id; see generally Pl. Mot. to Proceed 1n Forma Pauperis. Nonetheless, in
 light of the court's determination that it must dismiss this matter for lack of subject-matter
jurisdiction, the court grants the chakchiuma's motion for leave to proceed in
                                                                                   forma pauperis
 for the limited purpose of resolving the government's motion to dismiss.



a
  The Chakchiuma also argue that the statute of limitations period should be tolled in this case due to
"Fraud in Treaty." Pl. Resp. at 6-10. In this regard, plaintiff further argues that th€ Chakchiuma were not
aware ofthe Treaty of 1866, or ofthe monetary b€nefits provided for under this treaty, because the
Choctaw and Chickasaw conspired with the United States to drive the Chakchiuma from the tribal
nations. 1d. at 6-3 Plaintiffdoes not explain, however, how these circumstances, even iftrue, prevented
the Chakchiuma from pursuing their treaty-based claim for more than a century after the alleged events
occurred. Moreover, the limitations period under 28 U.S.C. $ 2501 is ajurisdictional prerequisite to
bringing the Chakchiuma's claim before this Court. See John R. Sand & Grovel Co. i. Uniied States. 552
u.s.   130, 136 (2008).

5
   The government has also moved to dismiss plaintifls complaint for failure to state a claim upon the
 ground that the remedies that the Chakchiuma seek in this matter are not available in this Court. Def.
 Mot. at l2-13; RCFC l2(bX6). Because the Court concludes that it does not possess subject-matter
jurisdiction to entertain this matter, because Mr. El Bey lacks standing to puriue this claim on his
                                                                                                     own
 behalf and because the treaty-based claim asserted in the complaint is time-barred, the Court does nor
reach this remainins issue.


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    V. CONCLUSION
       In sum, because Mr. El Bey may not represent the Chakchiuma in this matter and lacks
standing to bring this matter in his own right, the Court does not possess subject-matter
jurisdiction to consider this case. The Court also does not possess    subj ect-matter j   urisdiction to
consider this matter because the Chakchiuma's treaty-based claim is time-baned. And so, the
Court must dismiss this matter pursuant to RCFC 12(bxl).

       In addition, because it is in the interest ofjustice, the Court grants the Chakchiuma,s
motion to proceed   in   forma pauperis for the limited purpose ofresolving the jurisdictional issues
raised in the govemment's motion to dismiss.

       For the foregoing reasons, the Court:

       l.   GRANTS the govemment's motion to dismiss; and
       2.   GRANTS the Chakchiuma's motion for leave to proceed          in   forma pauperis.
       The Clerk's Office is directed to ENTER final judgment in favor of the govemment,
DISMISSING the complaint.

       No costs.



       IT IS SO ORDERED.




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